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                              UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

BRIGIT WILGUS                                   §
Plaintiff,                                      §
                                                §
v.                                              §                CASE NO. 1:19-cv-1117
                                                §
UNITED STATES OF AMERICA                        §
Defendant.                                      §

                                 PLAINTIFF’S ORIGINAL COMPLAINT

         Brigit Wilgus, Plaintiff in the above-referenced action, files this Original Complaint against

the Defendant United States of America, and would respectfully show the following:

                   I. JURISDICTION, VENUE, AND SERVICE OF PROCESS

         1.      This case arises under the Federal Tort Claims Act, 28 U.S.C. § 2671 et seq., and

28 U.S.C. § 1346(b), for money damages as compensation for personal injuries that were caused

by the negligent and wrongful acts and omissions of agents, servants, and/or employees of the

United States of America, or some agency thereof, under such circumstances where the United

States, if a private person, would be liable to Plaintiff in accordance with the laws of the State of

Texas.

         2.      Venue is appropriate in the District Court for the Western District of Texas pursuant

to 28 U.S.C. §1402(b) because the Plaintiff lives in this judicial district and because it is the judicial

district where the acts and omissions complained of occurred.

         3.      Plaintiff has fully complied with the provisions of 28 U.S.C. § 2675 and fully

exhausted her administrative remedies prior to filing this suit. On May 16, 2019, Plaintiff filed an

Amended Standard Form 95 with the appropriate agency, the Department of the Army. The

Department of the Army, through its attorney James Stephenson, acknowledged receipt of the



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Amended Standard Form 95 and that the mandatory six month waiting period would expire on

November 16, 2019. Because the agency has not made a final disposition of this claim and it is

now past November 16, 2019, suit is ripe pursuant to 28 U.S.C. 2675(a).

        4.       Defendant United States of America may be served with process in accordance with

FED R. CIV. P. 4(i)(1) by serving a copy of the Summons and Plaintiff’s Original Complaint on

John Bash, the United States Attorney for the Western District of Texas, by Certified Mail, Return

Receipt Requested at his office, United States Attorney, Western District of Texas, 816 Congress

Avenue, Suite 1000, Austin, Texas 78701, to the attention of the Civil Process Clerk, and by

serving a copy of the Summons and Plaintiff’s Original Complaint on William Barr, Acting

Attorney General of the United States, by Certified Mail, Return Receipt Requested, at the

Attorney General’s Office, U.S. Department of Justice, 950 Pennsylvania Avenue, NW,

Washington, DC 20530-0001, to the attention of the Civil Process Clerk.

                                            II. PARTIES

          5.     Plaintiff Brigit Wilgus is an individual residing in Killeen, Texas.

          6.     Defendant is the United States of America.

                                             III. FACTS

          7.     Plaintiff Brigit Wilgus is married to John Wilgus and is the mother of two children

(one of whom is still a minor). Prior to the events that give rise to this suit, Plaintiff was employed

as a medical lab technician at Darnell Army Hospital. As a result of her injuries, she is no longer

able to work and has suffered other consequences to her ability to live life and to care for her

family as described below.

        8.       Plaintiff underwent a total vaginal hysterectomy on January 20, 2016. During the
operation, the surgeon Dr. Marvin Miller caused injury to the intestine at the right margin of the
uterus. This prompted a surgical consult with Dr. Earl Lee to repair the injury. The surgical repair


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of the intestinal tear required using sponges within the operative field. Prior to receiving a nursing
count confirming whether all sponges had been removed, Dr. Miller closed the vagina and sealed
the sponge inside the pelvis. In this case, after the surgery was completed and the Plaintiff’s
incision was closed, the nurses confirmed that the sponge counts showed that a sponge was left
behind within the patient and was unaccounted for in the sponge count. The standard of care
requires that a surgeon who puts a sponge into the operative field should also remove it. The
standard of care also requires that the nurses should count all sponges being used during the surgery
and verify by a confirmatory count that all sponges have been removed before the surgery has
ended. The standard of care further requires that the sponge counts be confirmed before the patient
is closed at the end of the operation.
        9.       The sponge that was left behind caused an extended anesthesia time and a much
longer operation with the patient left in the dorsal lithotomy position (also called high stirrups).
Dr. Miller (Dr. Lee apparently left the OR after closing the patient) decided to obtain X-rays to
identify the sponge and after the X-rays confirmed that the sponge was present, he decided to
remove the sponge using laparoscopic surgery. This required obtaining CO2 and the other surgical
instruments needed to perform the surgery.          During this extended period of time for the
laparoscopic surgery, Plaintiff was left up in the stirrups. Because of the Plaintiff’s positioning in
the stirrups and the length of time during which she was left in the stirrups, Plaintiff developed a
nerve injury to her left leg. It was not necessary to leave the patient in the high stirrups position
after the sponge that was missing had been identified and during the process of X-raying the patient
and performing the laparoscopic sponge removal, and the standard of care required that the patient
be re-positioned out of the stirrups. Because of the prolonged period of time in the stirrups and the
positioning, Plaintiff has sustained nerve damage to her left leg that has been diagnosed as chronic
regional pain syndrome and that causes severe impairment. The pressure from the stirrups also
caused blood clots in the left leg that require life-time anti-coagulation treatment.

                                     IV. CAUSE OF ACTION

        10.      The facts alleged as to the parties above are incorporated by reference.

        11.      Defendant United States of America, through its employees, agents, servants,

and/or representatives, was negligent as follows: surgical failure to retrieve a sponge that had been

placed into the operative field; nursing failure to properly count sponges used during an operation

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and to verify with the proper count that all sponges used during that operation had been removed

and were accounted for prior to closing; a surgical decision to close before counts were complete,

leaving a patient up in stirrups in an inappropriate position and leaving the patient in that position

for an inappropriately long period of time.

        12.      The negligence of the employees, agents, servants, and/or representatives of the

Defendant United States of America proximately caused Plaintiff’s injuries and damages.

                                           V. DAMAGES

        13.      Plaintiff seeks recovery of all damages permitted by Texas law as a result of

Defendant’s negligence. Specifically, Plaintiff seeks recovery of the following damages, for which

he is entitled to recovery:

          a.     Reasonable and necessary medical expenses in the past;

          b.     Reasonable and necessary medical expenses that she will with reasonable

probability suffer in the future;

          c.     Loss of earning capacity and the value of her household services in the past;

          d.     Loss of earning capacity that and the value of her household services she will with

reasonable probability suffer in the future;

          e.     Physical pain and mental anguish and physical and mental impairment that she has

suffered in the past; and

          f.     Physical pain and mental anguish and physical and mental impairment that she will

with reasonable probability suffer in the future.

                                    VI. REQUEST FOR RELIEF

           14.   As a result of the foregoing, Plaintiff respectfully requests that Defendant be cited

to appear and answer herein; and that upon final trial and hearing hereof, that Plaintiff have



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judgment against Defendant for the amount of her actual damages; for such other and different

amounts as she shall show by proper amendment before trial; for post-judgment interest at the

applicable legal rate; for all costs of court incurred in this litigation; and for such other and further

relief, at law and in equity, both general and special, to which she may show himself to be entitled

and as this Court deems just and proper.


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                                                ATTORNEYS FOR PLAINTIFF




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